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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    _______________________________________________

    CHRISTOPHER HOLBDY,

                                      Petitioner,                               5:05-CV-1470
     vs.                                                                             (NAM)
                                                                            Related Criminal Action
    UNITED STATES OF AMERICA,                                                     03-CR-0243

                            Respondent.
    _______________________________________________
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    APPEARANCES                                                 OF COUNSEL:

    Marris, Bartholomae Law Firm                       William R. Bartholomae, Esq.
    317 Montgomery Street
    Syracuse , NY 13202
    Attorney for Petitioner

    Office of the United States Attorney               John M. Katko, Esq.
    P.O. Box 7198                                      Assistant U.S. Attorney
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    100 S. Clinton Street
    Syracuse, NY 13261-7198
    Attorney for Respondent

    Norman A. Mordue, Chief U.S. District Judge

                                            DECISION AND ORDER1

           On November 16, 2005, petitioner Christopher Holbdy filed a pro se Motion to Vacate, Set
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    Aside or Correct the sentence he received on December 17, 2004. 05-CV-1470, Dkt. No. 1

    ("Motion to Vacate"). That sentence was imposed on Holbdy after he pleaded guilty before this

    Court on March 23, 2004 to the first count of a Superceding Indictment returned against him by a

    grand jury sitting in this District. See 03-CR-0243, Dkt. Nos. 307, 308.

           In his Motion to Vacate, Holbdy asserts that he was deprived of his right to the effective

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                  The background information contained in this Decision and Order is derived from the documents filed
       in the present civil action, Holbdy v. United States, 5:05-CV-1470 ("05-CV-1470"), as well as the file of the
       related criminal matter, United States v. Edwards et al., 5:03-CR-0243 (N.D.N.Y.) ("03-CR-0243").
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    assistance of appellate counsel when such counsel failed to pursue an appeal of Holbdy's sentence

    with the Second Circuit Court of Appeals. See Motion to Vacate. Petitioner specifically argues that

    his criminal history category was improperly enhanced by this Court at the time he was sentenced,

    and that appellate counsel rendered ineffective assistance by failing to pursue an appeal challenging

    the propriety of Holbdy's sentence. Id. at attached pp. 8-12.

           On April 8, 2008, Assistant United States Attorney John Katko, Esq. ("AUSA Katko"), the

    attorney for the respondent, filed a letter-brief with the Court in which he acknowledged that
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    Holbdy had the right to pursue an appeal in the related criminal action, and suggested that an

    evidentiary hearing was necessary to ascertain whether Holbdy instructed his counsel to pursue an

    appeal in that criminal matter. See 05-CV-1470, Dkt. No. 8.

           On April 15, 2008, this Court scheduled an evidentiary hearing to resolve the factual matters

    in dispute in Holbdy's § 2255 Motion, and appointed William R. Bartholomae, Esq. to represent
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    Holbdy at such hearing. See Text Order of Court (4/15/08). The day before that hearing was to

    commence, Attorney Bartholomae filed with the Second Circuit a Motion for Permission to File a

    Late Notice of Appeal. See 03-CR-243, Dkt. No. 823. Attorney Bartholomae noted in that

    submission that Holbdy claims that he requested that his counsel pursue an appeal of the sentence

    imposed on him by this Court following his guilty plea, but that no such appeal was perfected by
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    counsel. Id. In that application, Attorney Bartholomae also notes that AUSA Katko has consented

    to Holbdy's request for permission to pursue a late appeal. Id.

           Based upon the foregoing, this Court has dismissed Holbdy's § 2255 motion without

    prejudice to him re-filing a challenge to his sentence under § 2255 after the matter currently before

    the Second Circuit has been finally resolved.


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           WHEREFORE, for the reasons discussed herein, it is hereby

           ORDERED that Holbdy's Motion to Vacate (05-CV-1470, Dkt. No. 1) is DISMISSED

    WITHOUT PREJUDICE for the reasons stated above, and it is further

           ORDERED that the Clerk of Court serve a copy of this Memorandum-Decision and Order

    upon the parties to this action by electronic mail.

           IT IS SO ORDERED.

           Date: January 9, 2009
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